            Case MDL No. 3053 Document 13 Filed 09/29/22 Page 1 of 2




                              BEFORE THE UNITED STATES

                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: NELNET SERVICING, LLC,                            MDL DOCKET NO. 3053
CUSTOMER DATA SECURITY
BREACH LITIGATION


                             AMENDED PROOF OF SERVICE

       I hereby certify that on September 29, 2022, a copy of this Notice of Related Actions was

filed electronically and served on counsel of record via electronic mail to the following counsel:

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